                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                          CRIMINAL DOCKET NO.: 5:03CR34

UNITED STATES OF AMERICA            )
                                    )
            vs.                     )
                                    )                       ORDER
JENNIE KNOX BROWN (2),              )
                                    )
            Defendant.              )
___________________________________ )

       THIS MATTER is before the Court on Defendant’s Motion to Reduce Sentence, filed

June 16, 2005.

       On July 29, 2003, Defendant was indicted on three counts by way of Bill of Indictment.

On March 2, 2004, Defendant pled guilty to Count One of the Bill of Indictment and, pursuant to

a written Plea Agreement, Counts Two and Three were dismissed on the Government’s motion.

This Court sentenced Defendant on January 10, 2005, to 63 months imprisonment. Judgment

was entered on February 3, 2005. Defendant has not filed an appeal nor has she filed a Section

2255 motion.

       Defendant now asks the Court to reduce her sentence due to her health conditions and the

needs of her family.

       Pursuant to 18 U.S.C. §3582(c), the Court may not modify a term of imprisonment once

it has been imposed except that, upon motion of the Director of Bureau of Prisons, the Court may

reduce a term of imprisonment upon a showing of extraordinary and compelling reasons that

warrant such a reduction and evidence that such a reduction is consistent with the applicable

policy statements issued by the Sentencing Commission. 18 U.S.C. § 3582(c)(i). Here, no such


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motion has been made by the Director of the Bureau of Prisons. Consequently, the Court cannot

reduce Defendant’s sentence. Further, this Order should not be construed as either a

recommendation to the Bureau of Prisons that it request compassionate release from the Court, or

a guarantee that the Court, should it receive such motion from the Bureau of Prisons, would grant

the Defendant compassionate release.

       IT IS, THEREFORE, ORDERED that Defendant’s Motion to Reduce Sentence is

hereby DENIED.




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                     Signed: August 30, 2005




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